Case: 1:18-Cv-02306 Document #: 1-1 Filed: 03/29/18 Page 1 of 5 Page|D #:33

EXHIBIT A

Case: 1:18-Cv-02306 Document #: 1-1 Filed: 03/29/18 Page 2 of 5 PagelD #:34

collective

 

 

EMPLOYN|ENT AGREEMENT

This Employment Agree ent (“Agreement") is entered into on this ifé’day of
20_[§ by and between lU\ (‘l Employee") and Collec_tlve Bias lnc. ("Emp|oyer'
or "Company” )

 

|n consideration of the mutual promises and covenants contained in this Agreement and for other good
and valuable considerationl inciuding. but not limited to, the employment of Employee by Employerl the
parties agree as follows:

1. CONF|DENTIALITY. Employee recognizes that, in the performance of hisfher duties for
Employer, Employee will!does have access to the following:

Empioyer plans, prod ucts, prices, costs1 discountsl digital files, computer programs marketing strategies.
future plans, business affairs, processes technical matters, customer!oiient lists, product designs (current
and future), copyrights, financial information and reports, legal files, prices lists. funding sources,
lending information, advertising and promotional ideas and strategies, market surveys andfor analysis,
other compitations of information, records. and other confidential information (collectivelyl “Ccnfidential
or Proprietary lnformation") which are valuable, special and unique assets of Employer. Employee
acknowledges that Oompany Confidential or Proprietary lnformation is owned and shall continue to be
owned solely by Employer. Employee agrees that the Employee will not at any time or in any manner,
either directly or indirectly:

a. divulge, disclose. furnish or communicate any Confidential or Proprietary information to
any person. tirm, agency, corporationl customer, business. or enterprise without the prior
written consent of the Employer and will protect the Proprietary information and treat it as
strictly contidential;

b. individually, or in conjunction with any other personl .firm. agency. company, customer.
business, or corporation, employ or cause to be employed any Confldentlal or Proprietary
information in any manner whatsoever, except in furtherance of the business of Employer;

c. without the written consent of. Employer, publish, deliverl or commit to being published or
delivered, any copies, abstracts, or summaries of any files, records, documents, drawingsl
specificationsl lists, and similar items relating to the business of Employer, whether prepared
by the Employee or otherwise coming into the Employee`s possession, except to the extent
required in the ordinary course of Employer’s business and as authorized by Employer.

Employee recognizes that the various items of Contidential or Proprietary information are special and
unique assets of the Employer and need to be protected from improper disclosure and unauthorized use
to the Employer's detriment lt Employee receives a legal request for Confidentiai or Proprietary
lnformation. Employee shall immediately deliver all such requests to Employer and shall follow
Employer's instructions regarding these requests

2. CLIENT |NFORMATlON. Employee understands and agrees that. in the performance of
Employee's duties for Employer. Employee will have access tol or become familiar with, trade secrets
and confidential and proprietary information concerning Employer‘s clients and prospective clients,

Case: 1:18-Cv-02306 Document #: 1-1 Filed: 03/29/18 Page 3 of 5 PagelD #:35

including new product information, sales figures, marketing strategies, marketing plansl financial
information and other confidential information concerning the clients‘ and prospective cilents'
businessesl Employee agrees that at no time or in any manner will Employee, either directly or
indirectly. divulge, disclose. furnish or communicate any such information to any person, firm. agency,
corporationl custom er. business. or enterprise without the prior written consent of Em pioyer.

Upon termination ot this Agreernent and Employee's employment Employee agrees to return to
Employer all property of any client or prospective client _of Employer (inciuding any copies) that is in the
possession of Employee.

3. RESPONSIBIL|T¥ TO REPORT. Employee further acknowledges and agrees that heishe shall
have an affirmative duty to timely report to Employer any actual or reasonably suspected activity that
violates Sections 1 andfor 2 of this Agreement by another emptoyee. contractorl vendor. or other
individual or entity. This may include intentional or inadvertent actions by the suspected
individuaiientity. Employ ee shall also have an affirmative duty to timely report to Employer any actual or
reasonably suspected activity that constitutes an unauthorized usel access, disclosure, theft.
manipulation. reproduction, and security breach of Employer's andfor its customer's property (includlng
but not limited to its computer and electronic systems). whether or not that property is considered
confidential

4. EMPLO¥ER PROPERT¥. All files; keys; records; computer programs; disks and files;
documents; drawings; models; specifications; lisis. including customer |ists; equipment data; manuais;
supplies; promotional materials; plansl and other similar items relating to the business of Employer.
including any copies. whether prepared by Employee or otherwise coming into Employee‘s possession are
and shall remain the exclusive properly of Employer.

Upon termination of this Agreement and Employee's employment, Employee agrees to return to
Emptoyer all property of Employerl that is in the possession of Employee. immediately and in as good
condition as when received by Employee (normal wear and tear excepted) lnc|uding, but not limited to.
all tiles, keys, records. computer programsl disks and files, documentsl drawingl listsl including customer
iists. eq uipment, data, manuals, supplies, promotional materials, pla ns, and other similar items relating to
the business of Employer. whether prepared by Employee or othenivise corning into Employee's
possession, and any copies of the same. including computer copies.

5. RESTRICT|VE COVENANTS. Employee recognizes that Employer has a legitimate business
interest in protecting its relationship with customers and potential customers and with its employees

a. NON-CO|'J|PETE. Employee agrees that during the term of employment and for a
period of one (‘l) year, following the termination of Employee‘s em ployment. with or without
cause, with or without notice, by either party, Employee will not, directly or indirect|y,
render services to any social media or shopper marketing company or agency in the United
States that is a direct competitor to any account to which Employee was principally assigned
at any point during the twelve {12) month period preceding hisiher separation with the
Cornpany.

b. Emptoyee agrees that during the term _of employment and for a period of one (1) year.
following the termination of Employee‘s employment with or without cause. with or without
notice, by either party, Employee will not directly or indirectly solicit any customer or
potential customer of Emptoyer with whom Employee had contact or for whose account
Employee worked during the last twelve (12} months of Employee's employment with
Employer. t

c. Emptoyee agrees that for a period of one (‘i) year foilowing the termination of Employee's
employment with or without cause, with or without noticel by either party, Employee will not
directly or indirectiy attempt to encouragel induce. or otherwise soiicit. directly cr indirectly.
any other employee of Employer to breach his or her employment agreement with Employer
or to otherwise interfere with the advantageous business relationship of Employer with its
employees

Case: 1:18-Cv-02306 Document #: 1-1 Filed: 03/29/18 Page 4 of 5 PagelD #:36

d. Employee further acknowledges that: (‘i) in the event hisiher employment the Employer
terminates for any reason. heishe will be able to earn a livelihood without violating the
foregoing restrictions and {2) that hisi`her ability to earn a livelihood without violating such
restrictions is a material condition to hisiher employment with Employer.

6. ENFORCEMENT OF COVENANTS. Employee agrees that the breach by himfher of this
Agreernent could not reasonably or adequately be compensated in damages in an action at law. and that
Employer shall be entitled to injunctive relief which may include. but shall not be limited to, restraining
Employee from rendering any service that would breach this Agreement. i-lowever, no remedy conferred
by any of the specific provisions of this Agreement (including this paragraph) is intended to be exclusive
of any other remedy and each and every remedy shall be cumulative and shall be in addition to every
other remedy given hereunder, or now or hereafter existing in law or in equity, or by state or otherwisel
The election of any one or more remedies by Employer shall not constitute a waiver of the right to
pursue other available remedies ln the event that it- is necessary for such injunctive relief, and
Company is successful, the duration cf the restrictive covenant shall be computed from the date such
relief is granted. reduced by the time period between termination ot Employee's employmentl by either
party. with or without causel with or without notice, and the date of the first violation of the covenant by
Employee.

7. WORK FOR HiRE. The Employee acknowledges and agrees that all designs. works of
authorship, data. software notes, records, dravii'ingsl memoranda, andfor other documents that are made,
revised or compiled by the Employee during the course of the Employee's service to Employer shall be
deemed "Work Product" and shall be the property of Employer. All Wcrk Product, including patent,
copyrightl trade secret and other intellectual property rights related theretol will be Employer's sole and
exclusive property. The parties intend that all Wcrk Product shall be considered to be work-for-hire to the
extent it qualifies as such under applicable law. To the extent that any Wcrk Product is not. automatically
upon creation th ereof, owned by Employer as a work-for-hire or otherwise, the Employee hereby assigns
and agrees to assign to Employer all of the Employee's rightl title and interest in. to and under all Wcrk
Product. During and after the term of this itgreementl the Employee will execute documents and give
testimony and take further acts reasonably requested by Emptoyer in connection with any efforts of
Employer to obtain and perfect patent, copyrightl trade secret and other legal protection for the Wcrk
Product. Llpon the Employee's termination of service with the Employer. the Employee will deliver such
items to Employer and forever relinquish any proprietary rights to them.

8. TERM!TERM|NAT|ON. Employee understands and agrees that hisiher employment with
Employer is at~will and may be terminated at any time with or without cause, with or without notice.
Nothing contained in this Agreement nor any subsequent modification or variation hereto shall confer
upon Employee any right to continue in hisfher employment with Employer or shall interfere with or
restrain in any way the right hereby expressly reserved by Employer to terminate Employee's
employment at any time, with or without causel with cr without notice Similarly, Employee may
terminate the employment relationship with or without cause, with or without noticel at any time.

9. SURV|VAL. This Agreement shall survive the termination of the employment relationship by
either party.

10. NOT|CES. Ali notices required or permitted under this Agreement shall be in writing and shall be
deemed delivered when delivered in person or deposited in the United States maii. postage paid.
addressed to the Company's or the Employee's last known address. Such addresses may be changed
from time to time by either providing written notice in the manner set forth above.

1‘l. ENT|RE AGREEMENT. This Agreement contains the entire agreement of the parties
concerning the subject matter hereof and there are no other promises or conditions in any other
agreement whether oral or written. This Agreement supersedes any prior written or oral agreements
between the parties concerning the subject matter hereof.

Case: 1:18-Cv-02306 Document #: 1-1 Filed: 03/29/18 Page 5 of 5 PagelD #:37

12. AMENDMENT. This Agreement may be modified or amended, if the amendment is made In
writing and is signed by both parties

13. SEVERAB!L|TY. lf any provisions of this Agreernent shall be held to be invalid or
unenforceable for any reason, the remaining provisions shall continue to be valid and enforceable lf a
court finds that any provision of this Agreemant is invalid or unenforceable but that by limiting such
provision it would become valid or enforceablel then such provision shall be deemed to be written,
construed, and enforced as so limited.

14. ATTORNEYS' FEES. lf any party to this Agreement breaches any of the terms of this
Agreement, then that party shall pay to the non-breaching party all of the non-breaching party's costs
and expenses, including attorneys' fees. incurred by the non-breaching party in enforcing the terms of this
Agreement.

15. WNVER OF R|GHTS. |f, on'one or more occasions either party fails to insist that the other
party perform any of the terms of this Agreement. such failure shall not be construed as a waiver by
such party of any past, presentl or future right granted under this Agreement; the obligations of both
parties under this Agreement shall continue in full force and effect

16. APPLICABLE LAW. This Agreement shall be governed by the laws of the State of Michigan.

EMPLOYEE&._ EMPLOYER: COLLECT|VE BlAS. INC.

Datg /_/‘[//?A/ - Name: %/\-)%

Date: pt '\\!/ j 671»/{ 5

 

